                     EXHIBIT                            139




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10162020                                                 Marlowe Justin




                                                                                                       Page   1


  1                 UNITED        STATES DISTRICT COURT
  2                 MIDDLE DISTRICT OF TENNESSEE

  3

  4        NIKKI   BOLLINGER GRAE Individually

      and on Behalf of All Others

  5        Similarly Situated

  6                Plaintiff                     Civil   Action   No
  7        vs                                316cv02267

  8        CORRECTIONS CORPORATION OF

      AMERICA ET AL
  9

             Defendants

 10




 11


 12              CONFIDENTIAL              PURSUANT TO PROTECTIVE ORDER
 13

 14          VIDEOTAPED DEPOSITION OF JUSTIN                              MARLOWE PhD
 15

 16             Conducted      virtually   via    remote videoconference

 17                       October 16 2020

 18

 19

 20

 21


 22

 23        Reported     by

      Misty Klapper     RMR CRR
 24        Job No      10073529

 25




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10162020                                          Marlowe Justin




                                                                                                Page 2
  1                 UNITED     STATES DISTRICT COURT

  2                 MIDDLE DISTRICT OF TENNESSEE

  3


  4        NIKKI   BOLLINGER GRAE Individually

      and on Behalf of All Others

  5        Similarly Situated


  6                Plaintiff              Civil   Action   No
  7        vs                             316cv02267

  8        CORRECTIONS CORPORATION OF

      AMERICA ET AL
  9

             Defendants

 10




 11


 12

 13

 14

 15

 16

 17         Videotaped deposition         of JUSTIN      MARLOWE         PhD taken
 18        on behalf of Plaintiff   via   Zoom remote videoconference

 19        beginning at 835      am PST on Friday October 16 2020
 20        before Misty Klapper      RMR CRR
 21


 22

 23

 24

 25




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10162020                                       Marlowe Justin



                                                                                               Page 3
  1        APPEARANCES
  2        ALL APPEARANCES VIA ZOOM REMOTE VIDEOCONFERENCE
  3        ON BEHALF OF PLAINTIFF
  4             WILLOW E RADCLIFFE ESQUIRE
             KENNETH       J BLACK ESQUIRE
  5              ROBBINS GELLER RUDMAN                          DOWD   LLP

             Post Montgomery      Center

  6              One Montgomery      Street Suite 1800

            San Francisco     California   94104

  7              415 2884545
             Email willowrrgrdlawcom
  8                   kennybrgrdlawcom
  9

      ON BEHALF OF DEFENDANTS
 10

            SARAH TOMKOWIAK              ESQUIRE
 11               LATHAM       WATKINS          LLP

            555 Eleventh    Street   NW        Suite   1000

 12               Washington      DC 200041304
            202 6372335
 13               Email sarahtomkowiaklwcom
 14                         AND
 15               MERYN     CN GRANT            ESQUIRE
             LATHAM        WATKINS       LLP

 16               355 South Grand Avenue              Suite     100

             Los Angeles    California   90071

 17               213 4851234
             Email meryngrantlwcom
 18

 19

      ALSO PRESENT         DeSHAWN       WHITE VIDEO OPERATOR
 20

 21

 22

 23

 24

 25




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10162020                                       Marlowe Justin




                                                                                                 Page 9
  1                The     court reporter     may now swear

  2           andor affirm the deponent

  3                MS REPORTER                One moment

  4        Whereupon

  5                 JUSTIN        MARLOWE        PHD
  6        was called for examination and           after being    duly


  7        sworn was examined and testified            as follows


  8                MS REPORTER                Thank you

  9                You may proceed

 10             EXAMINATION BY COUNSEL                   FOR PLAINTIFF

 11                BY MS RADCLIFFE

 12            Q     Good morning Mr Marlowe                    Could you


 13         please spell your name for the record


 14            A    Sure

 15                 Justin    J   U ST I N Marlowe
 16         M AR L O     WE
 17            Q     And where do you currently reside

 18            A    Chicago        Illinois



 19            Q     And have you been deposed before

 20            A    Yes

 21            Q     How many times

 22            A    Twice      once as an expert and once            in




 23         a nonprofessional       matter


 24            Q     And what did the         nonprofessional


 25         matter relate to




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10162020                                                Marlowe Justin




                                                                                                            Page 106
  1           correct

  2                   MS RADCLIFFE                     54

  3                   VIDEO OPERATOR                        54

  4                   I   dont know     if   I   have a 54 here


  5           Im seeing 53 and 55                  I   dont have a 54

  6                   MS RADCLIFFE Oh                         I
                                                                  see          Youre


  7           right       about that    Hold on one                second

  8           Sorry       for   my inability

  9                   VIDEO OPERATOR                        No youre fine

 10            Should we             should      we stay on the record

 11                       MS RADCLIFFE                 Yep         It   will   just


 12            take       me one second

 13                       VIDEO OPERATOR                    Okay

 14                       MS RADCLIFFE                 Okay             Its    53

 15            Apologize

 16                       VIDEO OPERATOR                    Okay Awesome                I




 17            have        53

 18                       Okay There we go

 19                       MS RADCLIFFE                 And well mark that

 20            as Exhibit        550

 21                             Thereupon         Marlowe               Exhibit


 22                Number 550 was marked for

 23                identification


 24                       BY MS RADCLIFFE

 25            Q           Do you recognize            this       document



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10162020                                          Marlowe Justin




                                                                                                    Page 107
  1        Mr Marlowe

  2                  MS GRANT            Can we also send that

  3           through the chat          please

  4                  VIDEO OPERATOR                Yes maam              Let


  5           me get this ready for you

  6                  MS GRANT            Thank     you

  7                  VIDEO OPERATOR                Let    me        okay

  8                  There you go


  9                  BY MS RADCLIFFE

 10            Q       Mr Marlowe do you recognize whats

 11         been marked as        Exhibit      550 to be the working

 12         paper referenced       in   Appendix        C to your report by

 13         Simon Hakim       and Erwin Blackstone

 14            A       Yes

 15            Q       And thats dated          April   29 2013

 16            A       Yes

 17            Q       Okay

 18                   MS RADCLIFFE               You can go ahead


 19            and put    that   aside    If
                                               you could     pull   up

 20            tab   85 please

 21                   VIDEO OPERATOR                Okay

 22                       Thereupon            Marlowe     Exhibit


 23                  Number 551 was marked for

 24                  identification


 25




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10162020                                                  Marlowe Justin




                                                                                                          Page 108
  1                   BY MS RADCLIFFE

  2           Q        So you                you would not have seen

  3        this   document           perhaps before             So   I


                                                                         guess   I




  4        should ask you


  5                   Have you reviewed documents                          between

  6        Drs Hakim            and Blackstone          and anyone          at   CCA
  7           A        No

  8           Q        What          about E mails between


  9        Drs Blackstone and                    and Hadim sic to CCAs

 10         PR firm Hillenby

 11               A    No

 12               Q       Okay         Do you see in this document

 13         that theres a reference                to a   CCA influencer

 14         meeting with Drs Hakim                     and Blackstone


 15               A       In   the   first    bullet   point

 16               Q       Yes

 17               A    Yes

 18               Q       Okay

 19                   MS RADCLIFFE                      Okay You can go

 20               ahead        and   put that     aside

 21                   BY MS RADCLIFFE

 22               Q       Oh     let   me just ask you one thing

 23         The       the Email is to Tony                Grande

 24                   Do you know Tony Grande from CCA

 25               A       No



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                                            Confidential      Pursuant to Protective Order                              Grae vs
        Justin Marlowe   PhD                                                     Corrections   Corporation    of   America et al


    1                     CERTIFICATE                    OF NOTARY

   2                 I        MISTY          KLAPPER             the       officer          before

   3      whom    the     foregoing                 deposition              was     taken          do

   4      hereby     certify                that        the    witness           whose

    5     testimony           appears              in    the     foregoing

    6     deposition           was          duly sworn by                  me     that       the

    7     testimony           of    said           witness           was    taken       by me in

    8     shorthand           and       thereafter               reduced          to

    9     typewriting by                    me      that        said       deposition           is      a


  10      true    record           of       the     testimony              given       by    said

  11      witness         that          I    am neither counsel                        for

  12      related        to        nor employed                  by       any of       the

  13      parties        to    the          action         in which             this

  14      deposition           was          taken          and        further           that       I



  15      am not     a    relative                 or    employee           of    any

  16      attorney        or counsel                    employed           by    the    parties

  17      hereto         nor financially                        or otherwise

  18      interested           in       the        outcome           of    this     action

  19              Further               that        if     the       foregoing          pertains             to

  20      the    original           transcript                  of    a    deposition           in      a    federal

  21      case      before          completion                  of    the       proceedings                 review     of

  22      the    transcript                    X         was                was     not      req4egted

  23      Dated      October                28      2020

  24                                                                        Misty       Klapper              RMR     CRR

  25                                                                        and     Notary Public



                                                                                                                      Page 309
                                                         vvwwaptusCRcom
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